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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA

                                 Complainant,
            v.
                                                                 Criminal Case No.
ZACHARY REHL
                                                                 1:21-cr-00175-TJK-3

(Styled as USA v. NORDEAN incorporating cases
against four Defendants collectively)


                                 Accused


                          [PROPOSED] ORDER
          UPON ZACHARY REHL’S MOTION FOR BILL OF PARTICULARS

       WHEREAS, the Accused ZACHARY REHL, by counsel, came before the Court for

hearing upon his Motion for a Bill of Particulars pursuant to Federal Rule of Criminal

Procedure 7(f), filed on September 25, 2021, off business hours, which is opposed by the U.S.

Attorney’s office, and

       WHEREAS the motion came before the Court for hearing on __________________, and

       WHEREAS the Court has heard and considered the pleadings and argument of counsel,

including counsel for ZACHARY REHL and the prosecution.

       WHEREFORE, it is hereby ORDERED and ADJUDGED that the United States of

America, Complainant, by counsel the U.S. Attorney’s Office for the District of Columbia

assisted by the services of the Federal Bureau of Investigations and the U.S. Capitol Police

Police and other agencies,

           1.            shall       [or]       need not unless it deems it desirable
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       produce with regard to COUNT II: Obstruction of an Official Proceeding and

       Aiding and Abetting

         A. Who exactly REHL is alleged to have aided and abetted, if not only

             the other three Defendants in this case?

         B. How REHL is alleged to have aided and abetted each such person?

         C. How any action by REHL or the other Defendants in this case or

             anyone whom REHL aided and abetted actually obstructed, delayed

             or hindered Congress’ certification of the disputed Electoral

             College vote?

         D. Was Congress going into recess at around 2:18 to 2:20 PM on

             January 6, 2021 proximately caused by reports of pipe bombs?

             Because of rioters attacking police and breaking windows?

             Because of the sheer numbers of demonstrators in Washington,

             D.C. that day?

         E. Specifically, what actions or omissions related to ZACHARY

             REHL was a proximate cause of Congress going into recess?

         F. If the prosecution contends that the indictment contains the full

             universe of available facts, with regard to some or all of these

             matters, the prosecution may merely so state.

  2.          shall      [or]       need not unless it deems it desirable

       produce with regard to COUNT III: Obstruction of Law Enforcement During

       Civil Disorder and Aiding and Abetting:

         A. Who REHL allegedly aided and abetted to obstruct, impede, or




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             interfere with law enforcement, and

         B. How REHL allegedly aided and abetted them, and

         C. When REHL allegedly aided and abetted them.

         D. If the prosecution contends that the indictment contains the full

             universe of available facts, with regard to some or all of these matters,

             the prosecution may merely so state.

  3.          shall     [or]      need not unless it deems it desirable

       produce with regard to COUNT IV: Destruction of Government Property and

       Aiding and Abetting under 18 U.S.C. 1361, 2

         A. Who REHL allegedly aided and abetted to damage property and

         B. What property those aided and abetted by REHL identified in (A)

             above are alleged to have damaged, and

         C. To what extent REHL knowingly and intentionally aided and abetted

             those identified in (A) above rather than REHL accidentally,

             unknowingly, or inadvertently aided and abetted them, and

         D. How was property damaged, physically or in dignity, and

         E. When REHL allegedly aided and abetted those identified in (A) above.

         F. If the prosecution contends that the indictment contains the full

             universe of available facts, with regard to some or all of these matters,

             the prosecution may merely so state.

  4.          shall     [or]      need not unless it deems it desirable

       produce with regard to COUNT I: Conspiracy under 18 U.S.C. § 371:

         A. When and how REHL knowingly and intentionally or purposefully



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          entered into an agreement of a criminal goal to “(1) to stop, delay, or

          hinder Congress's certification of the Electoral College vote…” as

          alleged in Paragraph 27(1) of the indictment.

       B. Which conspirators REHL allegedly entered into a conspiracy with to

          obstruct or interfere law enforcement officers as alleged in Paragraph

          27(2) of the indictment, and

       C. How the conspiracy that REHL is allegedly involved in obstructed or

          interfered with law enforcement officers.

       D. Which Proud Boys or others REHL is accused of encouraging as

          alleged in Paragraph 28(a) of the indictment.

       E. How REHL is accused of committing any crime or furthering a

          conspiracy by refraining from dressing in a paramilitary style often

          used by the Proud Boys as alleged in Paragraph 28(d) of the

          indictment.

       F. How REHL traveling to D.C. by itself as alleged in Paragraph 28(e) of

          the indictment is a crime or overt act in furtherance of a conspiracy.

       G. Which paramilitary gear and supplies-including concealed tactical

          vests, protective equipment, and radio equipment is REHL alleged to

          have obtained for an attack on the U.S. Capitol as opposed to for

          defensive purposes if demonstrators were attacked by ANIFA.

       H. Is REHL accused within the allegations of Paragraph 28(j) of the

          indictment of (a) actually knowing that someone else damaged

          windows or doors in the U.S. Capitol building, and (b) entering any



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                 door damaged by someone else, thus knowingly obtaining entry

                 through doors or windows that someone else damaged. Furthermore,

                 (c) whether windows and doors were damaged by any the person or

                 persons with whom REHL actually entered into a conspiracy.

              I. To what extent the prosecution charges REHL with aiding and

                 abetting or conspiring with no one in particular such that Supreme

                 Court precedents of incitement must govern the allegation.

              J. If the prosecution contends that the indictment contains the full

                 universe of available facts, with regard to some or all of these matters,

                 the prosecution may merely so state.



      SO ORDERED



Dated: __________________                      __________________________
                                               TIMOTHY J. KELLY
                                               United States District Judge




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